Case 23-10831-MFW   Doc 949-2   Filed 02/05/24   Page 1 of 43




                      EXHIBIT A
                     Case 23-10831-MFW            Doc 949-2         Filed 02/05/24    Page 2 of 43
   Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879632
   Lordstown Motors Corp.


                                               ITEMIZED SERVICES BILL

   Date:     Description:                                    Attorney:               Hours:    Rate:    Amount:

BKAD - Asset Disposition - General

11/01/2023   Review and analysis of emails regarding de      Detweiler,                0.20   845.00    $ 169.00
             minims asset sale motion                        Donald J.
                                                             (10135)




11/06/2023   Work with UST and co-counsel regarding          Patterson,                0.40   720.00    $ 288.00
             revisions to de minimis asset sale motion       Morgan L. (2372)




11/07/2023   Emails and calls with D. Turetsky regarding     Detweiler,                0.30   845.00    $ 253.50
             vehicle sale motion                             Donald J.
                                                             (10135)




11/14/2023   Email to White & Case team regarding            Giobbe, Cynthia           0.10   370.00     $ 37.00
             miscellaneous sale motion                       M.* (10258)




                                                           Page 2
                     Case 23-10831-MFW              Doc 949-2           Filed 02/05/24   Page 3 of 43
  Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879632
  Lordstown Motors Corp.


11/15/2023   Prepare certification of counsel regarding          Giobbe, Cynthia         0.50   370.00     $ 185.00
             miscellaneous asset sale motion (.3); email to      M.* (10258)
             D. Kim regarding same (.1); email to M.
             Patterson regarding same (.1)




11/16/2023   Review/revise and file COC for asset sale           Patterson,              0.50   720.00     $ 360.00
             motion                                              Morgan L. (2372)




11/16/2023   Email to/from M. Patterson regarding COC            Giobbe, Cynthia         0.30   370.00     $ 111.00
             regarding miscellaneous sale motion (.1);           M.* (10258)
             prepare COC, order for filing (.1); efile same,
             upload order (.1)




11/17/2023   Review and analysis and emails regarding            Detweiler,              0.20   845.00     $ 169.00
             Motion to repurchase vehicles (.2)                  Donald J.
                                                                 (10135)




11/17/2023   Review/revise motion to repurchase vehicles         Patterson,              1.70   720.00    $ 1,224.00
             (.9); review/revise related seal and motion to      Morgan L. (2372)
             shorten (.8)




                                                               Page 3
                     Case 23-10831-MFW            Doc 949-2          Filed 02/05/24   Page 4 of 43
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879632
  Lordstown Motors Corp.


11/17/2023   Prepare notice regarding motion to               Giobbe, Cynthia         0.70   370.00     $ 259.00
             repurchase vehicles (.1); prepare motion to      M.* (10258)
             seal (.5); email to/from R. Szuba regarding
             same (.1)




11/20/2023   Multiple emails regarding deadlines for          Detweiler,              0.20   845.00     $ 169.00
             miscellaneous asset sales                        Donald J.
                                                              (10135)




11/20/2023   Confer with M. Patterson regarding deadlines     Detweiler,              0.20   845.00     $ 169.00
             for miscellaneous asset sales                    Donald J.
                                                              (10135)




11/20/2023   Multiple emails regarding Debtors' Motion to     Detweiler,              0.30   845.00     $ 253.50
             Repurchase Vehicles and open issues              Donald J.
                                                              (10135)




11/20/2023   Prepare for Miscellaneous Asset sale motion      Patterson,              5.20   720.00    $ 3,744.00
             hearing (1.4); call with Fan He regarding        Morgan L. (2372)
             same (.3); review/revise motion to repurchase
             vehicles (2.6); correspondence with
             co-counsel regarding sealing same (.2);
             address shortened notice of same (.7)




                                                            Page 4
                     Case 23-10831-MFW             Doc 949-2          Filed 02/05/24   Page 5 of 43
  Lordstown Motors Corp (DE)                                                                     120360.0001.8/4879632
  Lordstown Motors Corp.


11/20/2023   Assist in preparation of motion to repurchase     Giobbe, Cynthia         2.00   370.00     $ 740.00
             (1.6); email (x4) to/from M. Patterson and R.     M.* (10258)
             Szuba regarding same (.4)




11/21/2023   Review and analysis of emails regarding           Detweiler,              0.30   845.00     $ 253.50
             proposed form of final Miscellaneous Asset        Donald J.
             Sale Order                                        (10135)




11/21/2023   Review and analysis of emails regarding           Detweiler,              0.30   845.00     $ 253.50
             Motion to Shorten Notice of Motion on Vehicle     Donald J.
             Buyback                                           (10135)




11/21/2023   Review and analysis of Motion on Vehicle          Detweiler,              0.20   845.00     $ 169.00
             Buyback                                           Donald J.
                                                               (10135)




11/21/2023   Revise miscellaneous. sale order (.7); draft      Patterson,              3.10   720.00    $ 2,232.00
             miscellaneous. sale form order (1.4); multiple    Morgan L. (2372)
             correspondence with objecting parties
             regarding revised miscellaneous. sale order
             (.4); Address shortened notice of repurchase
             of trucks motion (.6)




                                                             Page 5
                      Case 23-10831-MFW               Doc 949-2        Filed 02/05/24   Page 6 of 43
  Lordstown Motors Corp (DE)                                                                      120360.0001.8/4879632
  Lordstown Motors Corp.


11/21/2023   Preparation of motion and order regarding            Giobbe, Cynthia       3.00   370.00    $ 1,110.00
             motion to shorten notice regarding customer          M.* (10258)
             repurchase motion (1.4); email to M.
             Patterson regarding same; preparation of
             motion and order regarding motion to seal
             regarding customer repurchase agreement
             (1.1); email (x5) to M. Patterson regarding
             same (.5)



11/22/2023   Review and analysis of email regarding               Detweiler,            0.30   845.00     $ 253.50
             Motion to BuyBack Vehicles (.2); Confer with         Donald J.
             M. Patterson regarding the same (.1)                 (10135)




11/22/2023   Review and analysis of emails regarding              Detweiler,            0.30   845.00     $ 253.50
             Motion to Seal for Motion to Buy Back                Donald J.
             Vehicles (.2);                                       (10135)




11/22/2023   Review/revise/file motion to repurchase              Patterson,            2.50   720.00    $ 1,800.00
             vehicles (1.1); review/revise/file related           Morgan L. (2372)
             motion to shorten (.6); review/revise/file COC
             and revised miscellaneous asset sale motion
             order (.8)




11/22/2023   Prepare COC and exhibits regarding                   Giobbe, Cynthia       1.40   370.00     $ 518.00
             miscellaneous asset sale motion for filing           M.* (10258)
             (1.2); email (x3) to/from M. Patterson (.1); efile
             same, upload order (.1)




                                                              Page 6
                     Case 23-10831-MFW             Doc 949-2          Filed 02/05/24     Page 7 of 43
   Lordstown Motors Corp (DE)                                                                            120360.0001.8/4879632
   Lordstown Motors Corp.


11/27/2023   Retrieve entered order regarding motion to        Giobbe, Cynthia            0.50     370.00        $ 185.00
             shorten repurchase motion (.1); coordinate        M.* (10258)
             service of same (.1); Email to M. Patterson
             regarding notice of hearing (.1); efile same
             (.1); coordinate service of same (.1)




11/27/2023   Retrieve miscellaneous asset sale order (.1);     Giobbe, Cynthia            0.20     370.00          $ 74.00
             coordinate service of same (.1)                   M.* (10258)




11/28/2023   Telephone call Committee counsel regarding        Detweiler,                 0.20     845.00        $ 169.00
             status of sale of vehicle motion and 7023         Donald J.
             motion                                            (10135)




                                                                                                               $ 15,402.00
                                                                                       Total for Task:

BKAV - Adversary

11/03/2023   Review/revise response to motion to dismiss       Patterson,                 1.60     720.00       $ 1,152.00
             adversary                                         Morgan L. (2372)




                                                             Page 7
                     Case 23-10831-MFW              Doc 949-2          Filed 02/05/24     Page 8 of 43
   Lordstown Motors Corp (DE)                                                                             120360.0001.8/4879632
   Lordstown Motors Corp.


11/06/2023   Review/revise and file response to Foxconn         Patterson,                 2.90     720.00       $ 2,088.00
             motion to dismiss (2.6); correspondence with       Morgan L. (2372)
             Equity committee counsel regarding
             stipulation (.3)




11/06/2023   Assist in preparation of opposition to motion to   Giobbe, Cynthia            4.20     370.00       $ 1,554.00
             dismiss (3.5); prepare opposition and exhibit      M.* (10258)
             for filing (.3); email (x4) to/from M. Patterson
             regarding same (.1); efile opposition (.1);
             coordinate service of same (.2)




11/30/2023   Retrieve and review defendants reply               Giobbe, Cynthia            0.30     370.00        $ 111.00
             regarding objection to motion to dismiss (.2);     M.* (10258)
             email to W&C and WBD teams (.1)




                                                                                                                 $ 4,905.00
                                                                                        Total for Task:

BKCO - Claims Objections

11/06/2023   Calls with co-counsel regarding claims to be       Patterson,                 2.70     720.00       $ 1,944.00
             objected to and preparation of same                Morgan L. (2372)




                                                              Page 8
                     Case 23-10831-MFW             Doc 949-2        Filed 02/05/24   Page 9 of 43
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879632
  Lordstown Motors Corp.


11/08/2023   Work with co-counsel regarding claim              Patterson,            0.60   720.00     $ 432.00
             objections                                        Morgan L. (2372)




11/08/2023   Review first omnibus claims objection (.1);       Giobbe, Cynthia       0.30   370.00     $ 111.00
             prepare notice regarding same (.2)                M.* (10258)




11/09/2023   Review and analysis of shareholder 7023           Detweiler,            0.30   845.00     $ 253.50
             Motion to determine and appoint Class for         Donald J.
             shareholders                                      (10135)




11/09/2023   Review/revise non-substantive claim               Patterson,            1.70   720.00    $ 1,224.00
             objection (.8); review/revise substantive claim   Morgan L. (2372)
             objection (.9)




11/10/2023   Telephone call M. Patterson regarding             Detweiler,            0.20   845.00     $ 169.00
             Substantive and Non-Substantive claims            Donald J.
             objections to be filed                            (10135)




                                                           Page 9
                     Case 23-10831-MFW             Doc 949-2        Filed 02/05/24   Page 10 of 43
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879632
  Lordstown Motors Corp.


11/10/2023   Conference call D. Turetsky and M. Patterson       Detweiler,            0.20   845.00    $ 169.00
             regarding Substantive and Non-Substantive          Donald J.
             claims objections to be filed                      (10135)




11/10/2023   Review and analysis of email from D. Turetsky      Detweiler,            0.20   845.00    $ 169.00
             and M. Patterson regarding Substantive and         Donald J.
             Non-Substantive claims objections to be filed      (10135)




11/10/2023   Review/revise substantive objection (1.7);         Patterson,            3.90   720.00   $ 2,808.00
             review/revise non-substantive objection (.6);      Morgan L. (2372)
             call with Don Detweiler regarding same (.4);
             call with co-counsel and Don Detweiler
             regarding objections (.3); calls (x3) with Cindy
             Giobbe regarding filing and service of claims
             objections (.9)




11/10/2023   Prepare notice regarding second omnibus            Giobbe, Cynthia       5.30   370.00   $ 1,961.00
             claims objection (.2); review schedules to         M.* (10258)
             same (.6); email (x3) to/from M. Patterson
             regarding same (.1); email (x10) to/from M.
             Patterson regarding claims objections (.6);
             meeting with KCC regarding service
             deadlines (.5); assist in preparation of claims
             objection (2.3); prepare notice, objection and
             exhibits for filing (.5); efile same (.1);
             coordinate service of same (.2); calendar
             deadlines regarding same (.2)

11/13/2023   Review/revise response to 7023 motion              Patterson,            1.80   720.00   $ 1,296.00
                                                                Morgan L. (2372)




                                                           Page 10
                     Case 23-10831-MFW              Doc 949-2        Filed 02/05/24   Page 11 of 43
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879632
  Lordstown Motors Corp.


11/13/2023   Assist in preparation of objection to lead          Giobbe, Cynthia       0.70   370.00    $ 259.00
             plaintiff's rule 7023 motion (.6); email to M.      M.* (10258)
             Patterson regarding same (.1)




11/14/2023   Review/revise and file objection to rule 7023       Patterson,            1.20   720.00    $ 864.00
             class claim motion                                  Morgan L. (2372)




11/14/2023   Review Debtors' objection to Lead Plaintiffs'       Giobbe, Cynthia       1.70   370.00    $ 629.00
             class claim motion (.2); revise same (.4);          M.* (10258)
             prepare exhibits for filing (.3); email (x7)
             to/from M. Patterson regarding same (.3);
             email (x5) to S. Kaul regarding revisions (.2);
             efile objection (.1); prepare and efile
             declaration in support (.1); coordinate service
             of same (.1)



11/27/2023   Emails to and from White & Case team                Detweiler,            0.20   845.00    $ 169.00
             regarding filing of response to claims              Donald J.
             objection sent by Austrian creditor                 (10135)




11/27/2023   Review and analysis of email from D. Turetsky       Detweiler,            0.20   845.00    $ 169.00
             to class representatives regarding 7023             Donald J.
             Motion                                              (10135)




                                                              Page 11
                    Case 23-10831-MFW             Doc 949-2        Filed 02/05/24    Page 12 of 43
   Lordstown Motors Corp (DE)                                                                         120360.0001.8/4879632
   Lordstown Motors Corp.


11/27/2023   Review and analysis of response to claims         Detweiler,              0.20     845.00        $ 169.00
             objection sent by creditor; forward email and     Donald J.
             response to co-counsel                            (10135)




11/27/2023   Retrieve 138 proofs of claims and prepare first   Giobbe, Cynthia         3.50     370.00       $ 1,295.00
             omnibus claims objection binder (x2) (3.1);       M.* (10258)
             email to Chambers regarding claims binder
             (.1); email to M. Patterson regarding same;
             prepare notice of submission of proof of claim
             (.2); email to M. Patterson regarding same (.1)




11/28/2023   Address responses to first omnibus claim          Patterson,              0.80     720.00        $ 576.00
             objection                                         Morgan L. (2372)




                                                                                                            $ 14,666.50
                                                                                    Total for Task:

BKD - Documentations/Plan Negotiation

11/30/2023   Correspondence with co-counsel regarding          Patterson,              1.20     720.00        $ 864.00
             preparation of Plan supplement documents          Morgan L. (2372)
             (.1); review plan supplement (1.1)




                                                                                                              $ 864.00
                                                                                    Total for Task:




                                                          Page 12
                     Case 23-10831-MFW              Doc 949-2       Filed 02/05/24    Page 13 of 43
   Lordstown Motors Corp (DE)                                                                          120360.0001.8/4879632
   Lordstown Motors Corp.


BKDS - Disclosure Statement


11/01/2023   Work with co-counsel and chambers                   Patterson,             1.10     720.00        $ 792.00
             regarding revised version of DS Order for           Morgan L. (2372)
             docket




11/01/2023   Email (x2) to/from M. Patterson regarding           Giobbe, Cynthia        0.30     370.00        $ 111.00
             disclosure statement order (.2); review same        M.* (10258)
             (.1)




                                                                                                               $ 903.00
                                                                                     Total for Task:

BKE - Executory Contracts/Lease Agreements

11/01/2023   Review/revise/file rejection motion                 Patterson,             0.60     720.00        $ 432.00
                                                                 Morgan L. (2372)




11/01/2023   Revise notice regarding first rejection motion      Giobbe, Cynthia        1.10     370.00        $ 407.00
             (.2); email (x4) to/from F. He regarding same       M.* (10258)
             (.2); email to R. Szuba regarding same (.1);
             prepare motion, notice and order for filing (.2);
             email to M. Patterson regarding same (.1);
             efile same (.1); coordinate service of same
             (.1); calendar deadlines (.1)




                                                            Page 13
                     Case 23-10831-MFW             Doc 949-2       Filed 02/05/24   Page 14 of 43
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879632
  Lordstown Motors Corp.


11/08/2023   Review CNO regarding 365(d)(4) motion (.1);        Patterson,           0.30   720.00    $ 216.00
             correspondence with co-counsel regarding           Morgan L. (2372)
             revisions to rejection motion (.2)




11/08/2023   Prepare certificate of no objection regarding      Giobbe, Cynthia      0.20   370.00     $ 74.00
             365(d)(4) motion                                   M.* (10258)




11/08/2023   Email to M. Patterson regarding CNO for            Giobbe, Cynthia      0.10   370.00     $ 37.00
             motion to extend 365(d)(4)                         M.* (10258)




11/09/2023   Address revisions to first rejection motion        Patterson,           0.10   720.00     $ 72.00
                                                                Morgan L. (2372)




11/09/2023   Email (x4) to/from White & Case team               Giobbe, Cynthia      0.40   370.00    $ 148.00
             regarding CNO regarding 365(d)(4) motion           M.* (10258)
             (.3); efile CNO (.1)




                                                             Page 14
                     Case 23-10831-MFW             Doc 949-2       Filed 02/05/24   Page 15 of 43
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879632
  Lordstown Motors Corp.


11/13/2023   Review/revise second rejection motion (.4);        Patterson,           0.60   720.00    $ 432.00
             multiple correspondence with Fan He                Morgan L. (2372)
             regarding same (.2)




11/13/2023   Retrieve entered order extending 365(d)(4)         Giobbe, Cynthia      0.30   370.00    $ 111.00
             deadline (.1); coordinate service of same (.1);    M.* (10258)
             calendar deadlines regarding same (.1)




11/14/2023   Email to White & Case team regarding               Giobbe, Cynthia      0.20   370.00     $ 74.00
             rejection motion (.1); email to/from M.            M.* (10258)
             Patterson regarding same (.1)




11/15/2023   Prepare certification of counsel regarding first   Giobbe, Cynthia      0.50   370.00    $ 185.00
             lease rejection motion (.3); email to D. Kim       M.* (10258)
             regarding same (.1); email to M. Patterson
             regarding same (.1)




11/16/2023   Review/revise and file COC and order for           Patterson,           0.50   720.00    $ 360.00
             rejection motion                                   Morgan L. (2372)




                                                           Page 15
                     Case 23-10831-MFW              Doc 949-2        Filed 02/05/24    Page 16 of 43
   Lordstown Motors Corp (DE)                                                                           120360.0001.8/4879632
   Lordstown Motors Corp.


11/16/2023   Email to/from M. Patterson regarding COC            Giobbe, Cynthia         0.40     370.00        $ 148.00
             regarding first rejection motion (.1); prepare      M.* (10258)
             COC, exhibits for filing (.1); efile same, upload
             order (.1); retrieve entered order, coordinate
             service of same (.1)




                                                                                                               $ 2,696.00
                                                                                      Total for Task:

BKEB - Employee Benefits

11/13/2023   Review and analysis of employee settlement          Detweiler,              0.30     845.00        $ 253.50
             motion and potential Motion to Settle               Donald J.
             Employee Agreements                                 (10135)




11/13/2023   Review and analysis of Motion to settle             Detweiler,              0.40     845.00        $ 338.00
             Employment Obligations                              Donald J.
                                                                 (10135)




11/13/2023   Review/revise and file motion to settle             Patterson,              1.90     720.00       $ 1,368.00
             employee claims                                     Morgan L. (2372)




                                                            Page 16
                    Case 23-10831-MFW               Doc 949-2     Filed 02/05/24   Page 17 of 43
  Lordstown Motors Corp (DE)                                                                 120360.0001.8/4879632
  Lordstown Motors Corp.


11/13/2023   Email (x4) to/from M. Patterson and R. Szuba     Giobbe, Cynthia       2.00   370.00    $ 740.00
             regarding motion to settle employment            M.* (10258)
             obligations (.2); prepare notice regarding
             same (.1); assist in preparation of motion
             (1.4); efile same (.1); coordinate service of
             same (.1); calendar deadlines (.1)




11/17/2023   Review and analysis motion to settle             Detweiler,            0.30   845.00    $ 253.50
             employee obligations (.3)                        Donald J.
                                                              (10135)




11/28/2023   Review/file CNO for employee claim motion        Patterson,            0.40   720.00    $ 288.00
             (.2); call with co-counsel regarding same (.2)   Morgan L. (2372)




11/28/2023   Email to/from White & Case team regarding        Giobbe, Cynthia       0.70   370.00    $ 259.00
             motion to settle employment obligations (.1);    M.* (10258)
             prepare certificate of no objection regarding
             same (.4); email to M. Patterson regarding
             same (.1); efile certificate of no objection,
             upload order (.1)




11/29/2023   Retrieve and review employee settlement          Giobbe, Cynthia       0.20   370.00     $ 74.00
             order (.1); coordinate service of same (.1)      M.* (10258)




                                                           Page 17
                     Case 23-10831-MFW             Doc 949-2       Filed 02/05/24    Page 18 of 43
   Lordstown Motors Corp (DE)                                                                         120360.0001.8/4879632
   Lordstown Motors Corp.


                                                                                                             $ 3,574.00
                                                                                    Total for Task:

BKF - Fee Application/Monthly Billing

11/20/2023    Review and analysis with multiple emails of      Detweiler,              0.10     845.00         $ 84.50
              WBD Fee application                              Donald J.
                                                               (10135)




11/20/2023    Prepare WBD first monthly fee application        Giobbe, Cynthia         1.30     370.00        $ 481.00
              (1.1); email to M. Patterson regarding same      M.* (10258)
              (.1); prepare notice regarding same (.1)




11/21/2023    Review/revise fee application and circulate to   Patterson,              0.70     720.00        $ 504.00
              client                                           Morgan L. (2372)




11/21/2023    Revise WBD first monthly fee application (.4);   Giobbe, Cynthia         0.50     370.00        $ 185.00
              email to M. Patterson regarding same (.1)        M.* (10258)




                                                            Page 18
                    Case 23-10831-MFW             Doc 949-2         Filed 02/05/24    Page 19 of 43
   Lordstown Motors Corp (DE)                                                                          120360.0001.8/4879632
   Lordstown Motors Corp.


11/22/2023   Email from M. Patterson regarding First            Detweiler,              0.10     845.00         $ 84.50
             Monthly fee Application                            Donald J.
                                                                (10135)




11/22/2023   Review and prepare for filing fee application      Patterson,              0.80     720.00        $ 576.00
                                                                Morgan L. (2372)




11/22/2023   Prepare WBD first monthly fee application for      Giobbe, Cynthia         0.60     370.00        $ 222.00
             filing (.2); email to M. Patterson regarding       M.* (10258)
             same (.1); efile same (.1) coordinate service
             of same (.1); calendar deadlines (.1)




                                                                                                              $ 2,137.00
                                                                                     Total for Task:

BKFO - Fees of Others

11/01/2023   Review/file Baker fee application                  Patterson,              0.20     720.00        $ 144.00
                                                                Morgan L. (2372)




                                                             Page 19
                     Case 23-10831-MFW             Doc 949-2         Filed 02/05/24   Page 20 of 43
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879632
  Lordstown Motors Corp.


11/01/2023   Prepare Baker fee application for filing; email      Giobbe, Cynthia      0.50   370.00    $ 185.00
             to M. Patterson regarding same (.1); email to        M.* (10258)
             S. Ludovici regarding same (.1); efile
             application (.1); coordinate service of same
             (.1); calendar deadlines (.1)




11/03/2023   Work with Court chambers and counsel                 Patterson,           0.60   720.00    $ 432.00
             regarding interim fee hearing (.4); review/file      Morgan L. (2372)
             COC for omnibus hearing (.2)




11/07/2023   Correspondence with co-counsel regarding             Patterson,           0.10   720.00     $ 72.00
             preparation for interim fee apps                     Morgan L. (2372)




11/08/2023   Review and file CNO regarding KCC fee                Patterson,           0.10   720.00     $ 72.00
             application                                          Morgan L. (2372)




11/08/2023   Prepare certificate of no objection regarding        Giobbe, Cynthia      0.60   370.00    $ 222.00
             White & Case second monthly fee application          M.* (10258)
             (.2); prepare certificate of no objection
             regarding KCC second monthly fee
             application (.2);email to S. Harbuck regarding
             same (.1); efile KCC CNO regarding second
             monthly (.1)




                                                               Page 20
                     Case 23-10831-MFW              Doc 949-2       Filed 02/05/24   Page 21 of 43
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879632
  Lordstown Motors Corp.


11/08/2023   Prepare notice regarding White & Case first         Giobbe, Cynthia      1.20   370.00    $ 444.00
             interim fee application (.2); email to/from S.      M.* (10258)
             Harbuck regarding KCC first interim fee
             application (.1); email (x3) to S. Ludovici
             regarding same (.2); review KCC first interim
             fee application (.6); prepare notice regarding
             KCC first interim fee application (.1)




11/09/2023   Email to M. Patterson regarding second              Giobbe, Cynthia      0.10   370.00     $ 37.00
             monthly fee application of White & Case             M.* (10258)




11/10/2023   Review and file White & Case application            Patterson,           0.30   720.00    $ 216.00
                                                                 Morgan L. (2372)




11/10/2023   Email to/from S. Ludovici regarding White and       Giobbe, Cynthia      1.40   370.00    $ 518.00
             Case CNO regarding second monthly fee               M.* (10258)
             application (.1); email to M. Patterson
             regarding same (.1); email to S. Ludovici
             regarding White & Case third monthly fee
             application (.1); revise same (.1); prepare
             notice regarding same (.1); prepare
             application, notice and exhibits for filing (.1);
             email to M. Patterson regarding same (.1);
             email to S. Harbuck regarding KCC interim fee
             application (.1); email to S. Ludovici and M.
             Patterson regarding same (.1); efile W&C
             third monthly fee application (.1); efile CNO
             regarding W&C second monthly fee
             application (.1); calendar deadlines regarding
             same (.1); coordinate service of same (.1);
             prepare CNO regarding KPMG second
             monthly fee application (.1)




                                                            Page 21
                     Case 23-10831-MFW              Doc 949-2       Filed 02/05/24   Page 22 of 43
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879632
  Lordstown Motors Corp.


11/13/2023   Address professionals interim fee applications      Patterson,           0.30   720.00    $ 216.00
                                                                 Morgan L. (2372)




11/13/2023   Prepare notice regarding White & Case first         Giobbe, Cynthia      3.40   370.00   $ 1,258.00
             interim (.1); revise notice regarding KCC first     M.* (10258)
             interim fee application (.1); prepare notice
             regarding Silverman first fee application (.1);
             prepare notice regarding Jefferies first interim
             fee application (.1); prepare notice regarding
             KPMG first interim fee application (.1); review
             Silverman first interim fee application (.8);
             review Jefferies first interim fee application
             (.9); email (x5) to/from S. Ludovici regarding
             first interim fee applications (.3); email (x5)
             to/from M. Patterson regarding first interim fee
             applications (.2); email (x3) to/from S.
             Ludovici regarding CNO regarding KPMG
             second monthly fee application (.1); email
             to/from S. Harbuck regarding KCC interim
             application (.2); review/revise same (.3);
             prepare same for filing (.1)

11/14/2023   Review/revise and file Debtor professional          Patterson,           2.60   720.00   $ 1,872.00
             monthly and interim fee applications (2.1);         Morgan L. (2372)
             multiple correspondence with W&C team and
             Cindy Giobbe regarding same (.5)




11/14/2023   Email (x20) to/from S. Ludovici regarding           Giobbe, Cynthia      4.10   370.00   $ 1,517.00
             monthly and fee applications (.8); email (x10)      M.* (10258)
             to/from M. Patterson regarding monthly and
             interim applications (.6); prepare notice
             regarding Baker & Hostetler third monthly fee
             application; prepare notice, application for
             filing (.1); efile same (.1); email to M. VanNiel
             regarding same (.1); prepare notice,
             application and exhibits regarding White &
             Case interim fee application (.2); efile same
             (.1); prepare KCC first interim application and
             notice for filing (.1); efile same (.1); prepare
             Silverman interim fee application, notice for
             filing (.1); efile same (.1); prepare KPMG
                                                            Page 22
                     Case 23-10831-MFW                Doc 949-2        Filed 02/05/24   Page 23 of 43
  Lordstown Motors Corp (DE)                                                                      120360.0001.8/4879632
  Lordstown Motors Corp.


             interim and notice for filing (.1); efile same (.1);
             prepare Winston Strawn notice regarding first
             interim (.1); prepare application, notice for
             filing (.2); efile CNO regarding KPMG second
             monthly fee application (.1); prepare notice
             regarding Jefferies first monthly fee
             application (.1); email (x3) to/from S. Ruben
             regarding same (.2); prepare Jefferies first
             interim fee application, notice and exhibits for
             filing (.2); efile same (.1); prepare Baker
             Hostetler notice (.1); prepare application,
             notice and exhibits for filing (.1); efile same
             (.1); email to S. Ludovici regarding Silverman
             third monthly fee application (.1); coordinate
             service of same (.1)

11/15/2023   Review/file CNO for White and Case fees                Patterson,           0.20   720.00    $ 144.00
                                                                    Morgan L. (2372)




11/15/2023   Efile Silverman third monthly fee application          Giobbe, Cynthia      0.20   370.00     $ 74.00
             (.1); email to S. Ludovici regarding same (.1)         M.* (10258)




11/20/2023   Review and file 3rd Silverman fee application          Patterson,           0.20   720.00    $ 144.00
                                                                    Morgan L. (2372)




                                                               Page 23
                     Case 23-10831-MFW               Doc 949-2       Filed 02/05/24   Page 24 of 43
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879632
  Lordstown Motors Corp.


11/20/2023   Email (x2) to/from M. Patterson regarding            Giobbe, Cynthia      0.90   370.00    $ 333.00
             Silverman fourth monthly fee application (.1);       M.* (10258)
             prepare notice regarding same (.1); prepare
             notice, application and exhibits for filing (.1);
             efile same (.1); coordinate service of same
             (.1); calendar deadlines (.1); prepare CNO
             regarding KCC third monthly fee application
             (.1); email to M. Patterson regarding same
             (.1); email to KCC and S. Ludovici regarding
             same (.1)

11/21/2023   Efile CNO regarding KCC third monthly fee            Giobbe, Cynthia      0.20   370.00     $ 74.00
             application (.1); email to KCC, W&C and WBD          M.* (10258)
             teams (.1)




11/22/2023   Email to M. Patterson regarding Baker CNO            Giobbe, Cynthia      0.40   370.00    $ 148.00
             regarding second monthly fee application (.1);       M.* (10258)
             email to S. Ludovici regarding same (.1);
             email to M. VanNiel regarding same (.1); efile
             CNO (.1)




11/29/2023   Prepare omnibus certification of counsel             Giobbe, Cynthia      3.10   370.00   $ 1,147.00
             regarding interim fees and proposed order            M.* (10258)




11/30/2023   Assist in production of interim fee binder (1.5);    Giobbe, Cynthia      2.50   370.00    $ 925.00
             email to S. Ludovici regarding White & Case          M.* (10258)
             fourth monthly fee application (.1); prepare
             notice regarding same (.1); prepare
             application, exhibits for filing (.1); email to D.
             Detweiler regarding same (.1); efile same (.1);
             coordinate service of same (.1); prepare
             certificate of no objection regarding White &
             Case third monthly fee application (.2); email
             to S. Ludovici regarding same (.1); email to D.
             Detweiler regarding same (.1)

                                                             Page 24
                    Case 23-10831-MFW             Doc 949-2      Filed 02/05/24    Page 25 of 43
   Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879632
   Lordstown Motors Corp.


11/30/2023   Email to/from S. Ludovici regarding W&C          Giobbe, Cynthia        0.70     370.00        $ 259.00
             fourth monthly fee application (.1); prepare     M.* (10258)
             notice regarding same (.1); prepare notice,
             application and exhibits regarding W&C fourth
             monthly fee application (.2); efile same (.1);
             coordinate service of same (.1); calendar
             deadlines (.1)




                                                                                                          $ 10,453.00
                                                                                  Total for Task:

BKG - General Case Administration

11/03/2023   Revise weekly critical dates calendar (.3);      Giobbe, Cynthia        0.40     370.00        $ 148.00
             email to/from White & Case and WBD               M.* (10258)
             regarding same (.1)




11/07/2023   Retrieve ECF filings (.1); email to W&C and      Giobbe, Cynthia        0.20     370.00          $ 74.00
             WBD teams regarding daily docket                 M.* (10258)
             distribution (.1)




11/09/2023   Retrieve ECF filings (.1); email to W&C and      Giobbe, Cynthia        0.20     370.00          $ 74.00
             WBD teams (.1)                                   M.* (10258)




                                                           Page 25
                     Case 23-10831-MFW              Doc 949-2       Filed 02/05/24   Page 26 of 43
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4879632
  Lordstown Motors Corp.


11/10/2023   Revise weekly critical dates calendar (.2);         Giobbe, Cynthia      0.30   370.00    $ 111.00
             email to White & Case and WBD teams                 M.* (10258)
             regarding docket distribution and critical dates
             (.1)




11/13/2023   Update critical dates calendar                      Giobbe, Cynthia      0.20   370.00     $ 74.00
                                                                 M.* (10258)




11/14/2023   Revise weekly critical dates calendar (.3);         Giobbe, Cynthia      0.70   370.00    $ 259.00
             calendar deadlines (.3); retrieve ECF filings       M.* (10258)
             (.2); email to WBD and Dundon teams
             regarding same (.2)




11/17/2023   Efile affidavit of service regarding motion to      Giobbe, Cynthia      0.10   370.00     $ 37.00
             settle employee obligations                         M.* (10258)




11/20/2023   Revise critical dates calendar                      Giobbe, Cynthia      0.20   370.00     $ 74.00
                                                                 M.* (10258)




                                                              Page 26
                     Case 23-10831-MFW               Doc 949-2        Filed 02/05/24   Page 27 of 43
  Lordstown Motors Corp (DE)                                                                     120360.0001.8/4879632
  Lordstown Motors Corp.


11/22/2023   Revise weekly critical dates calendar (.1);          Giobbe, Cynthia       0.20   370.00     $ 74.00
             email to W&C and WBD teams (.1)                      M.* (10258)




11/28/2023   Retrieve and review ECF filings (.2); email to       Giobbe, Cynthia       0.30   370.00    $ 111.00
             W&C and WBD teams regarding same (.1)                M.* (10258)




11/29/2023   Call with M. Patterson status of current             Detweiler,            0.10   845.00     $ 84.50
             hearing                                              Donald J.
                                                                  (10135)




11/29/2023   Email to W&C and WBD teams regarding                 Giobbe, Cynthia       0.20   370.00     $ 74.00
             daily docket distribution (.1); update critical      M.* (10258)
             dates calendar (.1)




11/30/2023   Email to White & Case regarding docket               Giobbe, Cynthia       0.60   370.00    $ 222.00
             distribution (.1); calendar deadlines (.1);          M.* (10258)
             update critical dates calendar (.1); email to
             White & Case and WBD teams regarding KCC
             service requirements (.2); email to KCC
             regarding same (.1)




                                                               Page 27
                    Case 23-10831-MFW             Doc 949-2       Filed 02/05/24    Page 28 of 43
   Lordstown Motors Corp (DE)                                                                        120360.0001.8/4879632
   Lordstown Motors Corp.


                                                                                                            $ 1,416.50
                                                                                   Total for Task:

BKH - Court Hearings/Preparation/Agenda

11/01/2023   Email to/from M. Patterson regarding              Giobbe, Cynthia        0.50     370.00        $ 185.00
             10/31/23 hearing transcript (.1); email to G.     M.* (10258)
             Matthews regarding same (.1); email to/from
             M. Patterson regarding 12/19/23 COC (.1);
             efile same (.1); revise 11/21/23 hearing
             agenda (.1)




11/03/2023   Prepare certification of counsel regarding        Giobbe, Cynthia        0.60     370.00        $ 222.00
             12/11/23 hearing (.1); email (x4) to/from M.      M.* (10258)
             Patterson regarding same (.2); discuss
             interim fee hearing and deadlines with M.
             Patterson (.2); efile COC, upload order (.1)




11/06/2023   Coordinate service of 12/11/23 omnibus            Giobbe, Cynthia        1.20     370.00        $ 444.00
             hearing order (.1); email (x4) regarding          M.* (10258)
             deadlines regarding hearing (.2); update
             critical dates calendar (.2); update Womble
             calendar (.2); email to White & Case
             regarding filing deadlines (.1); email to/from
             M. Patterson regarding informal comments to
             asset sale motion (.1); update 11/21/23
             hearing agenda (.3)


11/09/2023   Update 11/21/23 hearing agenda (.2); retrieve     Giobbe, Cynthia        0.50     370.00        $ 185.00
             and review ECF filings (.1); email to W&C and     M.* (10258)
             WBD teams (.1); update 12/19/23 hearing
             agenda (.1)




                                                            Page 28
                    Case 23-10831-MFW              Doc 949-2      Filed 02/05/24   Page 29 of 43
  Lordstown Motors Corp (DE)                                                                 120360.0001.8/4879632
  Lordstown Motors Corp.


11/10/2023   Revise 12/11/23 hearing agenda                   Giobbe, Cynthia       0.10   370.00     $ 37.00
                                                              M.* (10258)




11/13/2023   Revise 11/21/23 hearing agenda (.2); revise      Giobbe, Cynthia       0.40   370.00    $ 148.00
             12/11/23 hearing agenda (.2)                     M.* (10258)




11/14/2023   Review agenda (.1)                               Detweiler,            0.10   845.00     $ 84.50
                                                              Donald J.
                                                              (10135)




11/14/2023   Revise 11/21/23 hearing agenda                   Giobbe, Cynthia       0.30   370.00    $ 111.00
                                                              M.* (10258)




11/16/2023   Emails regarding agenda for hearing              Detweiler,            0.10   845.00     $ 84.50
                                                              Donald J.
                                                              (10135)




                                                           Page 29
                     Case 23-10831-MFW             Doc 949-2     Filed 02/05/24   Page 30 of 43
  Lordstown Motors Corp (DE)                                                                120360.0001.8/4879632
  Lordstown Motors Corp.


11/16/2023   Review and circulate agenda for 11/21           Patterson,            0.80   720.00    $ 576.00
             hearing                                         Morgan L. (2372)




11/16/2023   Revise 11/21/23 hearing agenda (x2)             Giobbe, Cynthia       0.60   370.00    $ 222.00
                                                             M.* (10258)




11/16/2023   Revise 12/11/23 hearing agenda (.2);            Giobbe, Cynthia       1.30   370.00    $ 481.00
             preparation of interim fee index (1.1)          M.* (10258)




11/17/2023   Emails regarding hearing agenda and open        Detweiler,            0.20   845.00    $ 169.00
             matters (.2)                                    Donald J.
                                                             (10135)




11/17/2023   Review/revise file agenda for hearing on        Patterson,            1.40   720.00   $ 1,008.00
             11/21 (.8); multiple calls with co-counsel      Morgan L. (2372)
             changes to hearing status (.6)




                                                          Page 30
                     Case 23-10831-MFW             Doc 949-2       Filed 02/05/24   Page 31 of 43
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879632
  Lordstown Motors Corp.


11/17/2023   Revise 11/21/23 hearing agenda (.2); email to     Giobbe, Cynthia       1.60   370.00    $ 592.00
             M. Patterson and D. Detweiler regarding           M.* (10258)
             same (.1); efile Agenda (.1); coordinate
             service of same (.1); prepare 11/21/23
             amended agenda (.2); revise 12/11/23 interim
             index for Agenda (.9)




11/20/2023   Review and analysis of Amended Agenda and         Detweiler,            0.30   845.00    $ 253.50
             emails regarding same (.1); confer with M.        Donald J.
             Patterson regarding hearing and matters to be     (10135)
             continued (.2)




11/20/2023   Call with co-counsel regarding status of 11/21    Patterson,            0.60   720.00    $ 432.00
             hearing (.1); review/revise agenda and file       Morgan L. (2372)
             (.4); correspondence with Chambers
             regarding same (.1)




11/20/2023   Revise (x2) 11/21/23 amended hearing              Giobbe, Cynthia       1.00   370.00    $ 370.00
             agenda (.4); email (x4) to/from M. Patterson      M.* (10258)
             regarding same (.2); efile amended agenda
             (.1); coordinate service of same (.1); email to
             Chambers regarding same; prepare 11/29/23
             hearing agenda (.2)




11/21/2023   Follow-up with M. Patterson regarding results     Detweiler,            0.20   845.00    $ 169.00
             of hearing and info needed to be included in      Donald J.
             Miscellaneous Asset Sales                         (10135)




                                                           Page 31
                    Case 23-10831-MFW            Doc 949-2       Filed 02/05/24   Page 32 of 43
  Lordstown Motors Corp (DE)                                                                120360.0001.8/4879632
  Lordstown Motors Corp.


11/21/2023   Prepare for and attend hearing                  Patterson,            3.10   720.00   $ 2,232.00
                                                             Morgan L. (2372)




11/21/2023   Email to Chambers regarding 11/29/23            Giobbe, Cynthia       0.10   370.00     $ 37.00
             hearing agenda                                  M.* (10258)




11/22/2023   Review and analysis of emails regarding         Detweiler,            0.10   845.00     $ 84.50
             Hearing agenda for 11/29/2023 hearing           Donald J.
                                                             (10135)




11/27/2023   Confer with M. Patterson regarding hearing      Detweiler,            0.10   845.00     $ 84.50
             agenda and 7023 Motion                          Donald J.
                                                             (10135)




11/27/2023   Review/revise and file agenda for 11/29         Patterson,            1.50   720.00   $ 1,080.00
             hearing (.4); multiple correspondence with      Morgan L. (2372)
             litigation parties, co-counsel and court
             chambers regarding rescheduling motion
             hearing (1.1)




                                                          Page 32
                    Case 23-10831-MFW             Doc 949-2     Filed 02/05/24    Page 33 of 43
   Lordstown Motors Corp (DE)                                                                      120360.0001.8/4879632
   Lordstown Motors Corp.


11/27/2023   Revise (x2) 11/29/23 hearing agenda (.5);       Giobbe, Cynthia        1.70     370.00        $ 629.00
             email (x4) to/from M. Patterson regarding       M.* (10258)
             same (.3); efile same; prepare 11/29/23
             amended agenda (.2); email to M. Patterson
             regarding same (.1); efile same (.1);
             coordinate service of same (.1); revise
             12/11/23 hearing agenda (.4)




11/28/2023   Revise 12/11/23 agenda (.2) email to/from M.    Giobbe, Cynthia        0.40     370.00        $ 148.00
             Patterson regarding same (.1); review emails    M.* (10258)
             from F. He regarding same (.1)




11/28/2023   Further prepare interim fee application index   Giobbe, Cynthia        2.20     370.00        $ 814.00
             regarding 12/11/23 hearing (1.7); revise        M.* (10258)
             12/11/23 hearing agenda (.5)




11/29/2023   Revise 12/11/23 hearing agenda                  Giobbe, Cynthia        0.20     370.00          $ 74.00
                                                             M.* (10258)




                                                                                                         $ 10,956.50
                                                                                 Total for Task:

BKM - Other Motion Practice




                                                          Page 33
                    Case 23-10831-MFW            Doc 949-2        Filed 02/05/24    Page 34 of 43
   Lordstown Motors Corp (DE)                                                                        120360.0001.8/4879632
   Lordstown Motors Corp.


11/14/2023   Emails regarding Debtors' objection to lead      Detweiler,              0.20     845.00        $ 169.00
             plaintiff's class claim (.2)                     Donald J.
                                                              (10135)




11/14/2023   Review objection to class claim motion (.3)      Detweiler,              0.30     845.00        $ 253.50
                                                              Donald J.
                                                              (10135)




11/14/2023   Telephone call D. Turetsky regarding class       Detweiler,              0.20     845.00        $ 169.00
             claim issues (.2)                                Donald J.
                                                              (10135)




                                                                                                             $ 591.50
                                                                                   Total for Task:

BKO - Claims Administration

11/08/2023   Conference call with D. Turetsky regarding       Detweiler,              0.30     845.00        $ 253.50
             D&O issues                                       Donald J.
                                                              (10135)




                                                           Page 34
                    Case 23-10831-MFW            Doc 949-2        Filed 02/05/24    Page 35 of 43
   Lordstown Motors Corp (DE)                                                                        120360.0001.8/4879632
   Lordstown Motors Corp.


11/08/2023   Telephone call M. Patterson regarding D&O        Detweiler,              0.30     845.00        $ 253.50
             claim issues                                     Donald J.
                                                              (10135)




                                                                                                             $ 507.00
                                                                                   Total for Task:

BKPO - Plan of Reorganization

11/01/2023   Multiple emails regarding plan and disclosure    Detweiler,              0.20     845.00        $ 169.00
             statement filing and notices of same             Donald J.
                                                              (10135)




11/01/2023   Confer with M. Patterson regarding service of    Detweiler,              0.10     845.00         $ 84.50
             disclosure statement                             Donald J.
                                                              (10135)




11/01/2023   Review and analysis of confirmation notice,      Detweiler,              0.60     845.00        $ 507.00
             disclosure statement and plan                    Donald J.
                                                              (10135)




                                                           Page 35
                     Case 23-10831-MFW              Doc 949-2        Filed 02/05/24   Page 36 of 43
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4879632
  Lordstown Motors Corp.


11/01/2023   Revise/file final confirmation hearing notice       Patterson,            4.60   720.00   $ 3,312.00
             (.7); address solicitation with co-counsel and      Morgan L. (2372)
             execute (1.7); calls with co-counsel regarding
             solicitation filings (.4); review/revise and file
             Plan/DS solicitation versions (1.8)




11/01/2023   Prepare solicitation version of plan and            Giobbe, Cynthia       2.80   370.00   $ 1,036.00
             disclosure statement for filing (1.2); email to     M.* (10258)
             M. Patterson regarding same (.1); efile same
             (.1); email to/from M. Patterson regarding
             confirmation hearing notice (.1); prepare
             notice for filing (.6); efile same (.1); email to
             KCC regarding same (.1); calendar numerous
             confirmation deadlines (.5)



11/09/2023   Review and analysis of Securities Exchange          Detweiler,            0.30   845.00    $ 253.50
             Commission objection to deadline to                 Donald J.
             determine dischargeability                          (10135)




11/10/2023   Follow up call with D. Turestsky regarding          Detweiler,            0.20   845.00    $ 169.00
             contribution and indemnity issues under Plan        Donald J.
             (.2)                                                (10135)




11/14/2023   Emails and conference with M. Patterson             Detweiler,            0.20   845.00    $ 169.00
             regarding 7023 motion (.2)                          Donald J.
                                                                 (10135)




                                                            Page 36
                    Case 23-10831-MFW            Doc 949-2       Filed 02/05/24    Page 37 of 43
   Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879632
   Lordstown Motors Corp.


11/30/2023   Review and analysis of emails regarding plan    Detweiler,              0.20     845.00        $ 169.00
             supplement and plan service documents to be     Donald J.
             filed on 12/1/2023                              (10135)




11/30/2023   Email (x2) to/from D. Detweiler and M.          Giobbe, Cynthia         0.60     370.00        $ 222.00
             Patterson regarding confirmation notice order   M.* (10258)
             (.1); prepare same (.5)




                                                                                                           $ 6,091.00
                                                                                  Total for Task:

BKRA - Retention of Applicant

11/01/2023   Emails M. Ward and M. Patterson regarding       Detweiler,              0.20     845.00        $ 169.00
             supplemental conflict disclosures               Donald J.
                                                             (10135)




11/03/2023   Email (x2) to/from M. Patterson regarding       Giobbe, Cynthia         1.20     370.00        $ 444.00
             supplemental Detweiler declaration (.1);        M.* (10258)
             prepare supplemental declaration (1.1)




                                                         Page 37
                    Case 23-10831-MFW             Doc 949-2        Filed 02/05/24   Page 38 of 43
  Lordstown Motors Corp (DE)                                                                  120360.0001.8/4879632
  Lordstown Motors Corp.


11/10/2023   Email to and from M. Patterson regarding          Detweiler,            0.30   845.00    $ 253.50
             response to US Trustee questions on WBD           Donald J.
             retention application (.2); review US. Trustee    (10135)
             questions on WBD retention application (.1)




11/10/2023   Review disclosures and provide additional         Patterson,            1.40   720.00   $ 1,008.00
             information to UST                                Morgan L. (2372)




11/16/2023   Email to and from Lordstown General               Detweiler,            0.20   845.00    $ 169.00
             Counsel and CEO regarding WBD                     Donald J.
             supplemental retention application                (10135)




11/16/2023   Review/revise and prepare supplemental            Patterson,            1.20   720.00    $ 864.00
             declaration for filing                            Morgan L. (2372)




11/16/2023   Email (x2) to/from M. Patterson regarding         Giobbe, Cynthia       0.40   370.00    $ 148.00
             supplemental declaration regarding WBD            M.* (10258)
             retention (.1); prepare COC regarding same
             (.2); email to D. Detweiler and M. Patterson
             regarding declaration (.1)




                                                            Page 38
                     Case 23-10831-MFW               Doc 949-2         Filed 02/05/24   Page 39 of 43
  Lordstown Motors Corp (DE)                                                                      120360.0001.8/4879632
  Lordstown Motors Corp.


11/17/2023   Emails regarding filing of supplemental               Detweiler,            0.20   845.00    $ 169.00
             declaration on WBD retention (.2)                     Donald J.
                                                                   (10135)




11/17/2023   Review/revise and file COC and order for              Patterson,            0.90   720.00    $ 648.00
             retention (.6); multiple correspondence with          Morgan L. (2372)
             committee and UST counsel regarding
             retention (.3)




11/17/2023   Prepare Detweiler supplemental declaration            Giobbe, Cynthia       0.50   370.00    $ 185.00
             for filing (.1); efie same (.1); prepare              M.* (10258)
             certification of counsel regarding WBD
             retention application and exhibits for filing (.1);
             email to M. Patterson regarding same (.1);
             efile same, upload order (.1)




11/20/2023   Retrieve Womble Bond retention order,                 Giobbe, Cynthia       0.10   370.00     $ 37.00
             coordinate service of same                            M.* (10258)




11/21/2023   Review and respond to emails with US                  Detweiler,            0.20   845.00    $ 169.00
             Trustee regarding WBD Retention Application           Donald J.
                                                                   (10135)




                                                              Page 39
                     Case 23-10831-MFW             Doc 949-2       Filed 02/05/24    Page 40 of 43
   Lordstown Motors Corp (DE)                                                                         120360.0001.8/4879632
   Lordstown Motors Corp.


                                                                                                             $ 4,263.50
                                                                                    Total for Task:

BKRS - Reports and Schedules

11/07/2023   Correspondence with co-counsel regarding           Patterson,             0.10     720.00         $ 72.00
             status of MORs                                     Morgan L. (2372)




11/17/2023   Multiple correspondence with co-counsel and        Patterson,             0.40     720.00        $ 288.00
             UST regarding MORs                                 Morgan L. (2372)




11/22/2023   Review and prepare monthly operating               Patterson,             0.60     720.00        $ 432.00
             reports                                            Morgan L. (2372)




11/22/2023   Prepare monthly operating reports (x3) for         Giobbe, Cynthia        1.30     370.00        $ 481.00
             filing (1.1); email to M. Patterson regarding      M.* (10258)
             same (.1); email to F. He and D. Kim
             regarding same (.1)




                                                             Page 40
                       Case 23-10831-MFW             Doc 949-2      Filed 02/05/24      Page 41 of 43
  Lordstown Motors Corp (DE)                                                                             120360.0001.8/4879632
  Lordstown Motors Corp.


11/27/2023     Email to/from M. Patterson regarding October      Giobbe, Cynthia          0.10     370.00          $ 37.00
               MORs                                              M.* (10258)




11/28/2023     Prepare monthly operating reports (.8); email     Giobbe, Cynthia          2.00     370.00        $ 740.00
               to D. Kim regarding same (.1); prepare            M.* (10258)
               supporting documentation for filing (.8); email
               to M. Patterson regarding same (.1); efile
               same (.1); coordinate service to UST (.1)




                                                                                                                $ 2,050.00
                                                                                       Total for Task:

                                                                                   Total for Services:         $ 81,476.50


        *    If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




                                                            Page 41
                       Case 23-10831-MFW             Doc 949-2      Filed 02/05/24        Page 42 of 43
      Lordstown Motors Corp (DE)                                                                       120360.0001.8/4879632
      Lordstown Motors Corp.


  
                                                  TIMEKEEPER SUMMARY

Attorney:                                                                        Hours:              Amount:          Rate:

Detweiler, Donald J.                                                              11.10             $ 9,379.50      $ 845.00

Patterson, Morgan L.                                                              60.00            $ 43,200.00      $ 720.00

Giobbe, Cynthia M.*                                                               78.10            $ 28,897.00      $ 370.00

                                                                Totals:          149.20            $ 81,476.50


              * If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




                                                            Page 42
                    Case 23-10831-MFW             Doc 949-2       Filed 02/05/24       Page 43 of 43
 Lordstown Motors Corp (DE)                                                                          120360.0001.8/4879632
 Lordstown Motors Corp.



                                     TASK SUMMARY BILLING INFORMATION
Task Code              Task Description                                                    Hours                 Amount
BKAD                   Asset Disposition - General                                          25.10             $ 15,402.00
BKAV                   Adversary                                                             9.00              $ 4,905.00
BKCO                   Claims Objections                                                    25.70             $ 14,666.50
BKD                    Documentations/Plan Negotiation                                       1.20                $ 864.00
BKDS                   Disclosure Statement                                                  1.40                $ 903.00
BKE                    Executory Contracts/Lease Agreements                                  5.30              $ 2,696.00
BKEB                   Employee Benefits                                                     6.20              $ 3,574.00
BKF                    Fee Application/Monthly Billing                                       4.10              $ 2,137.00
BKFO                   Fees of Others                                                       23.90             $ 10,453.00
BKG                    General Case Administration                                           3.70              $ 1,416.50
BKH                    Court Hearings/Preparation/Agenda                                    21.20             $ 10,956.50
BKM                    Other Motion Practice                                                 0.70                $ 591.50
BKO                    Claims Administration                                                 0.60                $ 507.00
BKPO                   Plan of Reorganization                                                9.80              $ 6,091.00
BKRA                   Retention of Applicant                                                6.80              $ 4,263.50
BKRS                   Reports and Schedules                                                 4.50              $ 2,050.00
                                                                        Total              149.20             $ 81,476.50



                                         Use of Legal Support Service Providers

In an effort to continue delivering cost effective services, WBD (US) uses legal support service providers located both inside
and outside the U.S. to assist with help desk and technology issues, word processing, time entry, photocopying and other
administrative tasks. In order for these service providers to complete these tasks, we must share certain client information.
WBD (US) has made reasonable efforts to ensure that these services are performed in a manner that is consistent with our
firm’s obligations under the relevant Rules of Professional Conduct with regard to maintaining client confidentiality and
supervision of non-lawyer assistants, and the firm bears responsibility for the resulting work product. As part of the
engagement with the firm, you agree and consent to the use of the services of these providers in the manner stated above.




                                                          Page 43
